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     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jerad Maggi
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                 )   Case No.: 2:10-cr-00474-03 WBS
 9                                             )
                   Plaintiff,                  )   STIPULATION AND ORDER FOR
10                                                 CONTINUANCE OF JUDGMENT AND
                                               )   SENTENCING AND MODIFICATION
11          vs.                                )   OF SCHEDULE FOR PSR
                                               )
12                                             )
13   JERAD MAGGI,                              )
                   Defendant.                  )
14                                             )
15                                             )
16
17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

18   Judgment and Sentencing scheduled for April 1, 2013, at 9:30 a.m. is continued to May

19   13, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested because

20   defense counsel needs additional time to prepare for the Pre-Sentence Report (PSR).

21   Jared Dolan, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s

22   attorney, agree to this continuance.

23
24   IT IS SO STIPULATED.

25
     DATED: March 13, 2013                          By:    /s/ Thomas A. Johnson
26                                                         THOMAS A. JOHNSON
                                                           Attorney for Defendant
27                                                         JERAD MAGGI
28

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 1
     DATED: March 13, 2013                         BENJAMIN B. WAGNER
 2                                                 United States Attorney
 3                                           By:    /s/ Thomas A. Johnson for
                                                   JARED DOLAN
 4                                                 Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6
     DATED: March 14, 2013
 7
 8
     ______________________________
 9                                                     HON. WILLIAM B. SHUBB
                                                   United States District Court Judge
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 1
 2                               IN THE UNITED STATES DISTRICT COURT
 3                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
                                                     )   Case No.: 2:10-cr-00474-WBS
 5   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 6                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
 7        v.                                         )   SENTENCE REPORT
     JERAD MAGGI,                                    )
 8                                                   )
                    Defendant.                       )
 9                                                   )
10
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
11                                               this Court.

12   Judgment and Sentencing date:                                May 13, 2013
13
     Reply or Statement                                           May 6, 2013
14
     Motion for Correction of the Pre-Sentence
15   Report shall be filed with the court and                     April 29, 2013
16   served on the Probation Officer and opposing
     counsel no later than:
17
     The Pre-Sentence Report shall be filed with
18   the court and disclosed to counsel no later                  April 22, 2013          __
19   than:

20   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    April 15, 2013
21   Probation Officer and opposing counsel
22   no later than:

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